
507 S.E.2d 38 (1998)
349 N.C. 288
Bradley R. MORGAN and wife, Tonja D. Morgan and Bradley Dale Morgan
v.
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY.
No. 175A98.
Supreme Court of North Carolina.
November 6, 1998.
Wheatly, Wheatly, Nobles &amp; Weeks, P.A. by Stevenson L. Weeks, Beaufort, for plaintiff-appellants.
Bailey, Way &amp; Jerzak by Glenn Bailey, Morehead City, for defendant-appellee.
PER CURIAM.
AFFIRMED.
